        Case 6:22-cv-00588-ADA Document 14-1 Filed 08/15/22 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

PETER PEDERSEN,                                   ) Civil Action No. 6:22-cv-00588
                                                  )
                       Plaintiff,                 ) Judge Alan D. Albright
                                                  )
               v.                                 )
                                                  )
INTUIT, INC.,                                     )
                                                  )
                       Defendant.                 )
                                                  )

  DEFENDANT INTUIT INC.’S MOTION TO DISMISS UNDER RULE 12(B)(6) AND
                 MEMORANDUM OF LAW IN SUPPORT

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Intuit Inc. (“Intuit”), by

and through its undersigned attorneys, hereby respectfully moves to dismiss the Complaint filed

by Plaintiff Peter Pedersen (“Plaintiff”).

       Plaintiff has asserted infringement of a single claim of United States Patent No. 6,965,920

(“the ’920 patent”). However, Plaintiff’s boilerplate Complaint fails to substantively allege that

the accused Intuit “email marketing platform” includes every limitation of the single asserted

claim. Therefore, the Complaint should be dismissed for failure to state a claim upon which relief

can be granted.

                                    FACTUAL BACKGROUND

       Plaintiff is a citizen of Denmark and claims to be the exclusive owner of the ’920 patent

entitled “Profile Responsive Electronic Message Management System.” (Dkt. 1, ¶¶ 12, 14).

Plaintiff alleges that Intuit “has, under 35 U.S.C. §271(a), directly infringed, and continues to

directly infringe, literally and/or under the doctrine of equivalents, one or more claims, including

without limitation at least claim 1 of the ’920 Patent, by making, using, testing, selling, offering



                                                 1
        Case 6:22-cv-00588-ADA Document 14-1 Filed 08/15/22 Page 2 of 8




for sale and/or importing into the United States” Intuit’s “Mailchimp email marketing platform.”

(Dkt. 1, ¶¶ 15, 17). No other acts of infringement are alleged and no other products are identified.

       Claim 1 of the ’920 patent, the only asserted claim, reads as follows:

       An electronic message management system comprising:
       an electronic computer system in operative communication with a global digital
          communications network, and an electronic message management database in
          operative communication with the computer system; the electronic computer
          system having
       a recipient profile application for receiving recipient profile data from recipients
          via the global network and storing the recipient data in the database, the profile
          data including delivery parameters specified by a recipient of where, when and
          how specific types of messages from specific messengers are delivered to the
          recipient,
       a messenger profile application for receiving messenger profile data from
          messengers via the global network and storing the messenger data in the
          database, including messenger identifying data,
       a message input application for receiving message files from a messenger via the
          global network and storing the message files in the database, and
       an individual message generator in communication with the database and operative
          to access and utilize data and files from the database to generate an individual
          message to be sent to the recipient specified by the messenger via the global
          communications network according to the delivery parameters, and a message
          management server operating system; and
       the message management database including recipient and messenger profile
          databases for storing recipient and messenger profile data respectively, and a
          message database for storing message data files.

(’920 patent (Dkt. 1-1) at col. 11, lines 19-50 (emphasis added).)

       By its express language, claim 1 requires “an electronic computer system” as well as “an

electronic message management database in operative communication with the computer system.”

In addition, the “message management database” must include three discrete databases: (1) a

recipient profile database for storing recipient profile data, (2) a messenger profile database for

storing messenger profile data, and (3) a message database for storing message data files.




                                                 2
           Case 6:22-cv-00588-ADA Document 14-1 Filed 08/15/22 Page 3 of 8




                       ARGUMENT AND CITATION OF AUTHORITY

I.      Legal Standard

        To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570, 127 S. Ct. 1955, 1973 (2007)). Under this standard, the Plaintiff must “plead factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. The Complaint must describe the claim in sufficient detail to give the

defendant “fair notice of what the . . . claim is and the grounds upon which it rests.” Guilbeau v.

Schlumberger Tech. Corp., No. SA-21-CV-0142-JKP-ESC, 2022 U.S. Dist. LEXIS 11092, at *6

(W.D. Tex. Jan. 21, 2022) citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955,

167 L. Ed. 2d 929 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47, 78 S. Ct. 99, 2 L. Ed. 2d 80

(1957)).

        To state a valid claim of patent infringement, a plaintiff must allege that the defendant has

infringed all limitations of the claim. See Estech Sys. v. Regions Fin. Corp., No. 6:20-cv-00322-

ADA, 2020 U.S. Dist. LEXIS 200484, at *6 (W.D. Tex. Oct. 28, 2020) (“the pleading standards

established by Twombly and Iqbal require a plausible inference that an accused device meets all

of the limitations of the asserted claims.”). “[T]he failure to meet a single limitation is sufficient

to negate infringement of [a] claim.” Laitram Corp. v. Rexnord, Inc., 939 F.2d 1533, 1535 (Fed.

Cir. 1991). Pleading patent infringement “cannot be inferred from bare conclusory allegations.”

See Estech Sys., 2020 U.S. Dist. LEXIS 200484, at *6-7.

        Here, Plaintiff’s Complaint is a bare-bones, boilerplate pleading lacking the minimum

details sufficient to state a claim upon which relief may be granted. Plaintiff’s claim chart provides



                                                    3
           Case 6:22-cv-00588-ADA Document 14-1 Filed 08/15/22 Page 4 of 8




the only non-boilerplate allegations of the entire pleadings. But the claim chart still fails to

sufficiently plead that each and every limitation of “at least claim 1” of the ’920 Patent is infringed

by the accused Mailchimp platform. For this reason, the Complaint must be dismissed.

II.    Because Plaintiff Does Not Allege that the Mailchimp Platform Comprises Each
       Recited Database Required by Claim 1, Plaintiff’s Complaint Fails to State a Claim.

           The last element of claim 1 requires “an [electronic] message management database” that,

in turn, includes three separate databases: “recipient and messenger profile databases” and “a

message database.” (’920 Patent, claim 1.) Claim 1 also requires that particular data be stored in

each of these three separate databases: storing the recipient profile data in the recipient profile

database, storing the messenger profile data (including messenger identifying data) in the

messenger profile database, and storing the message data files in the message database. (Id.)

       Neither the Complaint nor the claim chart attached to the Complaint alleges that the

Mailchimp platform includes these discrete databases at all, let alone that the required data are

stored in each. Instead, Plaintiff alleges, “[o]n information and belief,” that Intuit’s “web servers

perform services associated with Mailchimp such as storing information in databases.” (Dkt. 1-1

at p. 19 of 31.) And as to the claim element that specifically calls out the three separate databases

and the information required to be stored in each, Plaintiff only pleads that Intuit’s web servers

“store information associated with” the accused Mailchimp application and the messages relating

thereto:




                                                  4
         Case 6:22-cv-00588-ADA Document 14-1 Filed 08/15/22 Page 5 of 8




(Id. at p. 30 of 31.)1

        Claim 1 of the ’920 Patent requires more than just “storing information in databases.”

Plaintiff’s general reference to web servers that, on information and belief, perform services such

as storing information in databases fails to plausibly indicate that each of the recipient profile

database, messenger profile database, and message database are present in the accused

instrumentality, and that they respectively store recipient profile data, messenger profile data, and

message data files as required by claim 1. Thus, Plaintiff has failed to allege facts that allow the

Court to draw a reasonable inference that Intuit has infringed every limitation of claim 1, the only

asserted claim. For this reason, the Complaint should be dismissed.

III.    Because Plaintiff’s Infringement Allegations Improperly Rely on a Single Structure
        for Multiple Claim Limitations, Plaintiff’s Complaint Fails to State a Claim.

        Claim 1 of the ’920 Patent recites, inter alia, an electronic message management system

comprising both “an electronic computer system in operative communication with a global digital

communications network, and an electronic message management database in operative

communication with the computer system.” But Plaintiff points to Intuit’s “web servers” for both

of these separately claimed structures. See Dkt. 1-1, pp. 19 (“Intuit has web servers located



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  Plaintiff includes additional website links to support its allegations, but these fail to cure the
Plaintiff’s pleading deficiencies. The first website link https://status.mailchimp.com/ merely
illustrates the connectivity status of various data centers, while the second website link
https://mailchimp.com/about/security/ merely illustrates Mailchimp’s data security and privacy
practices and the existence of databases generally.
                                                  5
         Case 6:22-cv-00588-ADA Document 14-1 Filed 08/15/22 Page 6 of 8




throughout the United States and which are in operative communication with the internet … On

information and belief, these web servers perform services associated with Mailchimp such as

storing information in databases.”), 20 (“The data associated with the users of Mailchimp are

stored in Intuit’s web servers.”), and 26 (“the information associated with these messages are

stored in Mailchimp’s web servers.”).

       “There can be no literal infringement where a claim requires two separate structures and

one such structure is missing from an accused device.” Becton, Dickinson & Co. v. Tyco

Healthcare Grp., LP, 616 F.3d 1249, 1255 (Fed. Cir. 2010). See also Gaus v. Conair Corp, 363

F.3d 1284, 1288-90 (holding that where a claim recited “an electrical operating unit and a pair of

spaced-apart electrically exposed conductive probe networks,” the accused device must include

“an electrical operating unit” separate from the pair of probe networks). Here, Plaintiff improperly

conflates two separately recited structures (i.e., “electronic computer system” and “electronic

message management database”) by pointing to a single structure (i.e., web servers) of the accused

“email marketing platform.” Therefore, Plaintiff has not sufficiently alleged the presence of both

structures as required by claim 1. For this additional reason, Plaintiff’s Complaint should be

dismissed for failure to state a claim.

                                          CONCLUSION

       Based on the facially inadequate Complaint, the Court should dismiss this case for failure

to state a claim under Federal Rule of Civil Procedure 12(b)(6).




                                                 6
       Case 6:22-cv-00588-ADA Document 14-1 Filed 08/15/22 Page 7 of 8




Dated: August 15, 2022
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                                      7
        Case 6:22-cv-00588-ADA Document 14-1 Filed 08/15/22 Page 8 of 8




                               CERTIFICATE OF SERVICE


       I hereby certify that on August 15, 2022, the foregoing was filed electronically in

compliance with Local Rule CV-5 and served via the Court’s electronic filing system on all

counsel who have consented to electronic service.

                                            /s/ Erick S. Robinson
                                            Erick Robinson




                                               8
